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Shcel 1 - Judgmcni m a Criminal Case with Supervised Release (Rev. 12/2019)                                                 Jud»incni Page 1 of 6
                                                                                                                             JSH



                                      United States District Court
                                                           District of Maryland                                               zz.'ZMzzmzzZi
                                                                                                                               aaoHinue -OQsn
             UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                              (For Offenses Committed on or After November 1, 1987)
                                     v.
                                                                              Case Number: LO-1-19-CR-00449-001
         KENNETH WENDELL RAVENELL                                             Defendant's Attorney: Lucius Outlaw, Esq. & Peter
                                                                              White, Esq.
                                                                              Assistant U.S. Attorney: Leo Wise, Derek Hines &
                                                                              Zachary Ray


THE DEFENDANT:
□ pleaded guilty to count(s)___
□ pleaded nolo contendere to count(s)        , which w'as accepted by the court.
13 was found guilty on count 2ss of the 2nd Superseding Indictment after a plea of not guilty.

                                                                                                         Date                      Count
            Title & Section                             Nature of Offense                         Offense Concluded                Number
             18:1956(h)                           Money Laundering Conspiracy                        08/15/2017                     2ss




    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through__6     of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker. 543 U.S. 220 (2005).

13 The defendant has been found not guilty on counts 1 ss and 3ss - 7ss of the 2nd Supersedimi Indictment.
3 The Orminal Indictment and Supersedimi Indictment are dismissed on the motion of the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.


                                                                               June 22, 2022 ____________
                                                                               Date of Imposition of Judgment


                                                                               Y
                                                                               Liam O’Gradyi \
                                                                                                              -Aw ^ ysaa.
                                                                                                                    Date
                                                                               United States District Judge


Name of Court Reporter: Christine Asif
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Sheet 2 - Judgment in a Criminal Case with Supervised Release (Rev. 12/2019)                                               Judgment Page 2 of 6
 DEFENDANT: Kenneth Wendell Ravenell                                                              CASE NUMBER: LO-1-19-CR-00449-001

                                                               IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 57 months.

^ The court makes the following recommendations to the Bureau of Prisons:
  1. That the defendant be designated to the Minimum Male Camp at Cumberland. Maryland or in the
     alternative the Minimum Male Camp at Fairton. New Jersey for service of his sentence.


□ The defendant is remanded to the custody of the United States Marshal.

□ The defendant shall surrender to the United States Marshal for this district:

     □ at        a.m./p.m. on
     □ as notified by the United States Marshal.

C3 The defendant shall surrender, at his own expense, to the institution designated by the Bureau of Prisons at
   the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If the
   defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

     C3 Not before 2pm on October 15, 2022

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.C. §3146. If convicted of an offense while on release,
the defendant shall be subject to the penalties set forth in 18 U.S.C. §3147. For violation of a condition of
release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C. §3148. Any bond or
property posted may be forfeited and judgment entered against the defendant and the surety in the full
amount of the bond.

                                                                        RETURN

I have executed this judgment as follows:

     Defendant delivered on                       to           at              , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL


                                                                           By:
                                                                           DEPUTY U.S. MARSHAL
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Sheet 3 - Judgment in a Criminal Case with Supervised Release (Rev. 12/2019)                                            Judgment Page 3 of 6
 DEFENDANT: Kenneth Wendell Ravenell                                                    CASE NUMBER: LO-1-19-CR-00449-00I


                                                         SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

The defendant shall comply with all of the follow ing conditions:
   The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                                                A.       MANDATORY CONDITIONS
1)   You must not commit another federal, state or local crime.
2)   You must not unlawfully possess a controlled substance.
3)   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
     □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
     abuse, (check if applicable)
4)   □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
     restitution, (check if applicable)
5)   You must cooperate in the collection of DNA as directed by the probation officer.
6)   □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
     directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
     reside, work, are a student, or were convicted of a qualifying offense, (check if applicable)
7)   □ You must participate in an approved program for domestic violence, (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page
                                B.       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep infonned, report to the court about, and bring about improvements in your conduct and condition.

I) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
   release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
   time frame.
2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
   when you must report to the probation officer, and you must report to the probation officer as instructed.
3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
   the court or the probation officer.
4) You must answer truthfully the questions asked by your probation officer.
5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
   arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
   the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
   hours of becoming aware of a change or expected change.
6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
   to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
   doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
   you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
   responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
   becoming aware of a change or expected change.
8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
   convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
   probation officer.
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Sheet 4 - Judgment in a Criminal Case with Supervised Release (Re\   N)            ___________________________ Judgment Page 4 of 6
 DEFENDANT: Kenneth Wendell Ravenell                                                CASE NUMBER: LO-M9-CR-00449-001

1) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
2) You must not own. possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.. anything that
   was designed, or was modified for. the specific purpose of causing bodily injury or death to another person such as nunchakus or
   tasers).
3) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
   first getting the permission of the court.
4) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
   require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
   person and confirm that you have notified the person about the risk.
5) You must follow the instructions of the probation officer related to the conditions of supervision.


                                                    C. SUPERVISED RELEASE
                                                    ADDITIONAL CONDITIONS


You must provide the probation officer with access to any requested financial information and
authorize the release of any financial infonnation. The probation office may share financial
information with the U.S. Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval
of the probation officer.

You must submit to substance abuse testing to determine if you have used a prohibited
substance. You must not attempt to obstruct or tamper with the testing methods.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further infonnation regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.aov.


Defendant's Signature                                                     Date
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Sheet 5. Part A - Judgment in a Criminal Case with Supervised Rcic;.-. .i’.cy 12/2019)                                           Jutlgmcnl Page 5 of 6
  DEFENDANT: Kenneth Wendell Ravenell                                                                     CASE NUMBER: LO-1-19-CR-00449-001

                                               CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties undet the schedule of payments on Sheet 5B.

                                Assessment                   Restitution                    Fine          AVAA Assessment*       JVTA Assessment**
 TOTALS                            SI 00.00               Not Applicable                 WAIVED              Not Applicable          Not Applicable
     □ CVB Processing Fee $30.00

     □ The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C)
                                                                                  will be entered after such determination.

     □ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.
            Name of Payee                  Total Loss***                  Restitution Ordered               Priority or Percentage




   TOTALS                                 $                                          $


   □      Restitution amount ordered pursuant to plea agreement

   □      The defendant must pay interest on restitution and a fine of more than $2,500. unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
          may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

   □      The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

          □ the interest requirement is waived for the               □     fine      □      restitution

          □ the interest requirement for the              □     fine      □       restitution is modified as follows:

   * Amy. Vick> . and Andy Child Pornography Victim Assistance Act of 2018. Pub. T. No. 115-299.
   ** Justice for Victims of Trafficking Act of 2015. Pub. L. No. 114-22
   *** Findings for the total amount of losses are required under Chapters 109A, 110. 110A. and 113A of Title 18 for offenses committed on or
   after September 13. 1994. but before April 23. 1996.
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Sheet 6 - Judgment in a Criminal Case with Supervised Release (Rev ! £'?0!9)                                                          Judgment Page 6 of 6
    DEFENDANT: Kenneth Wendell Ravenell                                                           CASE NUMBER: LO-1-19-CR-00449-001

                                                     SCHEDULE OF PAYMENTS
      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     E] Special Assessment shall be paid In full immediately; or

B     □ S             immediately, balance due (in accordance with C. D, or E); or

C     □ Not later than               ; or

D     □ Installments to commence                    day(s) after the date of this judgment.

E     □ In           (e.g. equal weekly, monthly, quarterly) installments of $_                 over a period of            year(s) to commence when
          the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties
shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Bureau of
Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

□ NO RESTITUTION OR OTHER FINANCIAL PENALTY SHALL BE COLLECTED THROUGH THE INMATE
FINANCIAL RESPONSIBILITY PROGRAM.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

      □ in equal monthly installments during the term of supervision: or

      □ on a nominal payment schedule of $                     per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant’s financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

□ Joint and Several

    Case Number
    Defendant and Co-Defendant
    Names (including defendant                                                 Joint and Several              Corresponding Payee,
    number)                                        Total Amount                     Amount                         if appropriate




□ The defendant shall pay the cost of prosecution.

□ The defendant shall pay the following court cost(s):

C3 The defendant shall forfeit the defendant's interest in the following property to the United States:
   Forfeiture Order incorporated herein by reference.

Payments shall be applied in the following order: (I ) assessment, (2) restitution principal, (3) restitution interest. (4) AVAA assessment, (5)
fine principal, (6) fine interest. (7) community restitution, (8) JVTA assessment. (9) penalties, and (10) costs, including cost of prosecution
and court costs.
